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 6

 7                                UNITED STATES DISRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9

10
     THE UNITED STATES OF AMERICA                   ) Case No.: 2:12-CR-00198-MCE-22
11                                                  )
                                                    ) WAIVER OF DEFENDANT’S PERSONAL
                           Plaintiff,               ) APPEARANCE
12
                                                    )
13   vs.                                            )
                                                    )
14   KEVIN KUESTER et al.,                          )
                                                    )
15                                                  )
                           Defendant                )
16                                                  )

17
            Defendant KEVIN KEUSTER hereby waives his right to be personally present in open
18

19   court upon the hearing of any motion or other proceeding in this case, including when the case is

20   set for trial, when a continuance is ordered, when time is excluded under the Speedy Trial Act,
21
     when a detention hearing is held, and when any other such action is taken by the Court before or
22
     after trial, except upon arraignment, plea, empanelment of jury and imposition of sentence.
23

24   ///

25   ///
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     ///
27
     ///
28




                             WAIVER OF DEFENDANT’S PERSONAL APPEARANCE - 1
              Case 2:12-cr-00198-MCE Document 524 Filed 04/27/15 Page 2 of 2


 1          Defendant hereby requests this Court to proceed during every absence of his which the
 2
     Court may permit pursuant to his waiver; agrees that his interests will be deemed represented at
 3
     all times by the presence of his attorney, the same as if the defendant were personally present;
 4

 5
     and further agrees to be present in person in court ready for trial on any day which the Court may

 6   fix in his absence
 7   Dated: April 20, 2015                                /s/ Kevin Kuester
 8                                                        KEVIN KUESTER

 9

10   APPROVED:

11   /s/ Robert J. Saria
     ROBERT J. SARIA
12
     Counsel for Defendant Kevin Kuester
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14                  IT IS SO ORDERED.
15
     Dated: April 24, 2015
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                             WAIVER OF DEFENDANT’S PERSONAL APPEARANCE - 2
